      Case 20-71598-wlh              Doc 12       Filed 01/06/21 Entered 01/06/21 13:50:35                           Desc Ntc.
                                                Proof of Claim Page 1 of 1
                                        UNITED STATES BANKRUPTCY COURT

                                                  Northern District of Georgia


In     Debtor(s)
Re:    Nicole Renee Painter                                          Case No.: 20−71598−wlh
       384 Eagle Tiff Drive                                          Chapter: 7
       Sugar Hill, GA 30518                                          Judge: Wendy L. Hagenau

       xxx−xx−2673



                                            NOTICE SETTING DEADLINE FOR
                                              FILING PROOFS OF CLAIM

     You were previously notified that the schedules of the Debtor(s) disclosed no assets available for distribution to
creditors. The Trustee now reports that funds may be available for distribution.

     Therefore, you are hereby notified that, if you wish to participate in any distribution which may be paid from the
estate, you must file a proof of claim on or before:



                                             Non−government proof of claim: 4/6/21




                                              Government proof of claim: 05/09/21


                                              File with:
                                              United States Bankruptcy Court
                                              1340 United States Courthouse
                                              75 Ted Turner Drive SW
                                              Atlanta, GA 30303


Use Official Form B410 to file a claim. To file electronically visit www.ganb.uscourts.gov and access the ePOC tab. To obtain a claim form
                                      (B410) visit www.ganb.uscourts.gov and access the Forms tab.

                       If you have already filed your proof of claim, it is not necessary to refile.




                                                                                            M. Regina Thomas
                                                                                            Clerk of Court
                                                                                            U.S. Bankruptcy Court
Dated: January 6, 2021
Form ntcpoc
